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 1   DAVID L. NEALE (SBN 141225)
     J.P. FRITZ (SBN 245240)
 2   LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
     10250 Constellation Boulevard, Suite 1700
 3   Los Angeles, California 90067
     Telephone: (310) 229-1234
 4   Facsimile: (310) 229-1244
 5   Email: DLN@LNBYB.COM, JPF@LNBYB.COM

 6   Proposed Counsel for
     Official Committee of Unsecured Creditors
 7
                                 UNITED STATES BANKRUPTCY COURT
 8                                CENTRAL DISTRICT OF CALIFORNIA
 9                                     LOS ANGELES DIVISION

10   In re:                                            )   Case No. 2:19-bk-14989-WB
                                                       )
11                                                     )   Chapter 11
     SCOOBEEZ, et al.1                                 )
12                                                     )   Jointly Administered With Case Nos.:
     Debtors and Debtors in Possession.                )   2:19-bk-14991-WB and 2:19-bk-14997-WB
13                                                     )
     _____________________________________             )   APPLICATION TO EMPLOY LEVENE,
14                                                     )   NEALE, BENDER, YOO & BRILL L.L.P.
     Affected Debtor(s):                               )   AS GENERAL BANKRUPTCY COUNSEL
15                                                     )
                                                       )   FOR THE OFFICIAL COMMITTEE OF
         All Debtors
                                                       )   UNSECURED            CREDITORS;
16
                                                       )   DECLARATION OF DAVID L. NEALE IN
         Scoobeez
17                                                     )   SUPPORT THEREOF
                                                       )
         Scoobeez Global, Inc.                         )
18                                                         [NO HEARING REQUIRED UNLESS
                                                       )   REQUESTED PER LOCAL BANKRUPTCY
19       Scoobur LLC                                   )
                                                       )   RULE 2014-1(b)(1)(C)]
20                                                     )
                                                       )
21                                                     )
                                                       )
22                                                     )
                                                       )
23                                                     )

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     1
27      The Debtors and the last four digits of their respective federal taxpayer identification numbers
     are as follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The
28   Debtors’ address is 3463 Foothill Boulevard, Glendale, California 91214.


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 1          The Official Committee of Unsecured Creditors (the “Committee”) in the jointly
 2   administered bankruptcy cases of Scoobeez and Scoobeez Global, Inc. (each a “Debtor” and,
 3   collectively, the “Debtors”), debtors and debtors in possession herein, respectfully submits its
 4   application (the “Application”) to employ the law firm of Levene, Neale, Bender, Yoo & Brill
 5   L.L.P. (“LNBYB”) as the Committee’s general bankruptcy counsel pursuant to 11 U.S.C. §§
 6   327(a), 330 and 1103(a), and hereby represents as follows:
 7          1.      The Debtors commenced their jointly-administered bankruptcy cases by each
 8   filing voluntary petitions under chapter 11 of the Bankruptcy Code on April 30, 2019. The
 9   Debtors are presently operating their business and managing their financial affairs as debtors-in-
10   possession pursuant to 11 U.S.C. §§ 1107 and 1108.
11          2.      On May 20, 2019, the Office of the United States Trustee (the “U.S. Trustee”)
12   appointed the Committee and selected the following members: Nexgen Capital, LLC, Avitus,
13   Inc., and Minas Sarafian.
14          3.      The Committee requires the services of bankruptcy counsel to carry out its duties
15   in the Debtors’ chapter 11 bankruptcy cases. After consideration, the Committee voted in favor
16   of employing LNBYB as its general bankruptcy counsel, taking into account LNBYB’s firm
17   size, experience, skill level and cost. The Committee therefore seeks to employ LNBYB as its
18   general bankruptcy counsel, at the expense of the Debtors’ bankruptcy estates, and to have its
19   employment of LNBYB be deemed effective as of May 22, 2019, the date the Committee chose
20   LNBYB as its counsel.
21          4.      The Committee requires the assistance of counsel to render, among others, the
22   following types of professional services:
23                  (a)     advising the Committee with regard to the requirements of the
24   Bankruptcy Court, Bankruptcy Code, Bankruptcy Rules and the U.S. Trustee as they pertain to
25   the Committee;
26                  (b)     advising the Committee with regard to certain rights and remedies of the
27   Debtors’ bankruptcy estates and the rights, claims and interests of creditors;
28


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 1                     (c)    representing the Committee in any proceeding or hearing in the
 2   Bankruptcy Court involving the Debtors’ estates unless the Committee is represented in such
 3   proceeding or hearing by other special counsel;
 4                     (d)    conducting examinations of witnesses, claimants or adverse parties and
 5   representing the Committee in any adversary proceeding, except to the extent that any such
 6   adversary proceeding is in an area outside of LNBYB’s expertise;
 7                     (e)    preparing and assisting the Committee in the preparation of reports,
 8   applications, pleadings and orders including, but not limited to, applications to employ
 9   professionals, and responding to pleadings filed by any other party in interest in these cases,
10   including the Debtors;
11                     (f)    assisting the Committee to evaluate any sale or other disposition of assets
12   in these cases;
13                     (g)    assisting the Committee to evaluate the existence of any assets and/or
14   causes of action to pursue and representing the Committee in connection with the pursuit of any
15   such causes of action;
16                     (h)    assisting the Committee in the negotiation, formulation, preparation and
17   confirmation of a plan of reorganization and the preparation and approval of a disclosure
18   statement in respect of the plan; and
19                     (i)    performing any other services which may be appropriate in LNBYB’s
20   representation of the Committee during these bankruptcy cases.
21          5.         The Committee believes that LNBYB is comprised of attorneys who specialize
22   in reorganization and bankruptcy law and are well-qualified to represent the Committee. All
23   attorneys comprising or associated with LNBYB are admitted to practice law in the California
24   courts and in the United States District Court and Bankruptcy Court for the Central District of
25   California. A copy of LNBYB’s firm resume is attached as Exhibit “A” to the Declaration of
26   David L. Neale, Esq. (the “Neale Declaration”) annexed hereto. The Committee expects that
27

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 1   David L. Neale and John-Patrick M. Fritz will be the primary attorneys at LNBYB responsible
 2   for the representation of the Committee during the Debtors’ chapter 11 cases.
 3           6.        LNBYB intends to seek Court authority to be paid for any and all fees incurred
 4   and expenses advanced by LNBYB in conformity with 11 U.S.C. §§ 330 and 331. LNBYB will
 5   bill its time for its representation of the Committee on an hourly billing basis in accordance with
 6   LNBYB’s standard hourly billing rates. A listing of the current hourly rates for each of
 7   LNBYB’s attorneys is attached as Exhibit “B” to the Neale Declaration annexed hereto.
 8   LNBYB’s compensation will be calculated based on the annexed current hourly rates, subject to
 9   further notice.
10           7.        It is contemplated that LNBYB will seek interim and final compensation in the
11   cases as is permitted by Bankruptcy Code Sections 330 and 331 and Bankruptcy Rule 2016. No
12   compensation will be paid except upon application to and approval by this Court after notice
13   and a hearing in accordance with Bankruptcy Code Sections 330 and 331, Bankruptcy Rule
14   2016 and Local Bankruptcy Rule 2016-1.
15           8.        Because LNBYB’s practice is limited exclusively to matters of bankruptcy,
16   insolvency and reorganization law, the services provided by LNBYB do not include the
17   rendition of substantive legal advice outside of these areas, such as corporate, tax, securities,
18   tort, environmental, labor, criminal, real estate law or real estate litigation.       Accordingly,
19   LNBYB will not be required to represent or advise the Committee in matters which LNBYB
20   believes are beyond LNBYB’s expertise such as the areas of law just described. In addition,
21   LNBYB will not be required to represent the Committee in matters where LNBYB determines
22   that it lacks the ability to staff the matter adequately, such as in certain, major complex
23   litigation.
24           9.        LNBYB has represented other committees, debtors and trustees in cases before
25   the United States Bankruptcy Court for the Central District of California.              Such prior
26   representation in no way affects the proposed representation as provided for herein.
27

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 1          10.        As set forth in the annexed Neale Declaration, other than as stated therein, to the
 2   best of LNBYB’s knowledge, LNBYB does not hold or represent any interest adverse to the
 3   Committee, the creditors herein or the bankruptcy estates, and LNBYB is a “disinterested
 4   person” as that term is defined in Section 101(14) of the Bankruptcy Code.
 5          11.        Individual attorneys with LNBYB may have previously represented Committee
 6   members or other creditors of the Debtors in previous matters wholly unrelated to the present
 7   cases. However, none of these prior representations are ongoing and LNBYB will not be
 8   representing any affiliates or insiders in these cases. Further, other than as set forth hereinabove
 9   and in the Neale Declaration, and based on the information currently available to LNBYB,
10   LNBYB has no prior connection with the Debtors, the bankruptcy estates, any insiders of the
11   Debtors, any entities related to the Debtors, any creditors of the Debtors, or any other party in
12   interest in these cases, or their respective attorneys or accountants, the U.S. Trustee or any
13   person employed by the U.S. Trustee, except that, prior to its selection as counsel for the
14   Committee, LNBYB represented Nexgen Capital, LLC, but received no payment(s) from
15   Nexgen Capital, LLC in connection with that representation. Nexgen Capital, LLC is now a
16   member of the Committee, and the other Committee members are aware of LNBYB’s prior
17   representation.
18          12.        LNBYB is not a creditor, an equity security holder or an insider of the Debtors,
19   nor does it hold or represent any interest materially adverse to the Committee, the creditors
20   herein or the bankruptcy estates.
21          13.        The Committee believes that its employment of LNBYB upon the terms and
22   conditions set forth above is in the best interests of the Committee and the creditors of the
23   Debtors’ estates.
24          14.        A true and correct copy of the Notice of this Application, which was filed and
25   served in accordance with Local Bankruptcy Rule 2014-1(b)(2), is attached as Exhibit “C” to
26   the Neale Declaration annexed hereto.
27

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 1                               DECLARATION OF DAVID L. NEALE

 2          I, David L. Neale, hereby declare as follows:

 3          1.      I have personal knowledge of the facts set forth below and, if called upon to
 4   testify, would and could competently testify to their truth. Any capitalized terms not defined
 5
     herein have the meanings ascribed to them in the foregoing Application.
 6
            2.      I am a partner in the law firm of Levene, Neale, Bender, Yoo & Brill L.L.P.
 7
     (“LNBYB”). I am an attorney licensed to practice in the State of California, in the United States
 8

 9   District Court and the Bankruptcy Courts for the Southern, Central, Northern and Eastern

10   Districts of California, and in the United States Court of Appeals for the Ninth Circuit.

11          3.      The Debtors commenced their jointly-administered bankruptcy cases by each
12
     filing voluntary petitions under chapter 11 of the Bankruptcy Code on April 30, 2019. The
13
     Debtors are presently operating their business and managing their financial affairs as debtors-in-
14
     possession pursuant to 11 U.S.C. §§ 1107 and 1108.
15
            4.      On May 20, 2019, the Office of the United States Trustee appointed the
16

17   Committee and selected the following members: Nexgen Capital, LLC, Avitus, Inc., and Minas

18   Sarafian.
19          5.      LNBYB has agreed to represent the Committee as its bankruptcy counsel to
20
     render such ordinary and necessary legal services as may be required in connection with the
21
     Debtors’ chapter 11 bankruptcy cases including, but not limited to rendering the following types
22
     of professional services:
23

24                  (a)     advising the Committee with regard to the requirements of the

25                  Bankruptcy Court, Bankruptcy Code, Bankruptcy Rules and the U.S. Trustee as

26                  they pertain to the Committee;
27

28


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 1                 (b)     advising the Committee with regard to certain rights and remedies of the

 2                 Debtors’ bankruptcy estates and the rights, claims and interests of creditors;

 3                 (c)     representing the Committee in any proceeding or hearing in the
 4                 Bankruptcy Court involving the Debtors’ estates unless the Committee is
 5
                   represented in such proceeding or hearing by other special counsel;
 6
                   (d)     conducting examinations of witnesses, claimants or adverse parties and
 7
                   representing the Committee in any adversary proceeding except to the extent that
 8

 9                 any such adversary proceeding is in an area outside of LNBYB’s expertise;

10                 (e)     preparing and assisting the Committee in the preparation of reports,

11                 applications, pleadings and orders including, but not limited to, applications to
12
                   employ professionals, and responding to pleadings filed by any other party in
13
                   interest in these cases, including the Debtors;
14
                   (f)     assisting the Committee to evaluate any sale or other disposition of assets
15
                   in these cases;
16

17                 (g)     assisting the Committee to evaluate the existence of any assets and/or

18                 causes of action to pursue and representing the Committee in connection with the
19                 pursuit of any such causes of action;
20
                   (h)     assisting the Committee in the negotiation, formulation, preparation and
21
                   confirmation of a plan of reorganization and the preparation and approval of a
22
                   disclosure statement in respect of the plan; and
23

24                 (i)     performing any other services which may be appropriate in LNBYB’s

25                 representation of the Committee during these bankruptcy cases.

26          6.     LNBYB is comprised of attorneys who specialize in and limit their practice to
27   matters of insolvency, reorganization and bankruptcy law and are well-qualified to represent the
28


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 1   Committee. All attorneys comprising or associated with LNBYB are admitted to practice law

 2   in the California courts and in the United States District Court and Bankruptcy Court for the

 3   Central District of California. A copy of LNBYB’s firm resume is attached as Exhibit “A”
 4   hereto. I expect that John-Patrick M. Fritz and I will be the primary attorneys at LNBYB
 5
     responsible for the representation of the Committee during these chapter 11 cases.
 6
            7.      A listing of the current hourly rates for each of LNBYB’s attorneys is attached as
 7
     Exhibit “B” hereto. My current billing rate is $625.00 per hour. Mr. Fritz’s current billing rate
 8

 9   is $580.00 per hour. LNBYB’s compensation will be calculated based on the annexed current

10   hourly rates, subject to further notice.

11          8.      LNBYB has not received a retainer for services to be rendered in these cases.
12
     Nor has LNBYB received any lien or other interest in property of the Debtors or of a third party
13
     to secure payment of LNBYB’s fees or expenses.
14
            9.      LNBYB intends to seek Court authority to be paid for any and all fees incurred
15
     and expenses advanced by LNBYB in conformity with 11 U.S.C. §§ 330 and 331. LNBYB will
16

17   bill its time for its representation of the Committee on an hourly billing basis in accordance with

18   LNBYB’s standard hourly billing rates.
19          10.     LNBYB understands that its compensation in these bankruptcy cases will be
20
     subject to the approval of the Court. LNBYB will seek interim and final compensation in the
21
     cases as is permitted by Bankruptcy Code Sections 330 and 331 and Bankruptcy Rule 2016. No
22
     compensation will be paid except upon application to and approval by this Court after notice
23

24   and a hearing in accordance with Bankruptcy Code Sections 330 and 331, Bankruptcy Rule

25   2016 and Local Bankruptcy Rule 2016-1.

26          11.     Because LNBYB’s practice is limited exclusively to matters of bankruptcy,
27   insolvency and reorganization law, the services provided by LNBYB do not include the
28


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 1   rendition of substantive legal advice outside of these areas, such as corporate, tax, securities,

 2   tort, environmental, labor, criminal, real estate law or real estate litigation. LNBYB will not be

 3   required to represent or advise the Committee in matters which LNBYB believes are beyond
 4   LNBYB’s expertise such as the areas of law just described. In addition, LNBYB will not be
 5
     required to represent the Committee in matters where LNBYB determines that it lacks the
 6
     ability to staff the matter adequately, such as in certain, major complex litigation.
 7
            12.     LNBYB has represented other committees, debtors and trustees in cases before
 8

 9   the United States Bankruptcy Court for the Central District of California. I do not believe that

10   such prior representation in any way affects the proposed representation as provided for herein.

11          13.     Other than as stated herein, to the best of my knowledge, LNBYB does not hold
12
     or represent any interest adverse to the Committee, the creditors herein or the bankruptcy
13
     estates, and LNBYB is a “disinterested person” as that term is defined in Section 101(14) of the
14
     Bankruptcy Code.
15
            14.     Individual attorneys with LNBYB may have previously represented Committee
16

17   members or other creditors of the Debtors in previous matters wholly unrelated to the present

18   cases. However, none of these prior representations are ongoing and LNBYB will not be
19   representing any affiliates or insiders in these cases. Further, other than as set forth herein, and
20
     based on the information currently available to LNBYB, LNBYB has no prior connection with
21
     the Debtors, the bankruptcy estates, any insiders of the Debtors, any entities related to the
22
     Debtors, any creditors of the Debtors, or any other party in interest in these cases, or their
23

24   respective attorneys or accountants, the U.S. Trustee or any person employed by the U.S.

25   Trustee, except that, prior to its selection as counsel for the Committee, LNBYB represented

26   Nexgen Capital, LLC, but received no payment(s) from Nexgen Capital, LLC in connection
27

28


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 1   with that representation. Nexgen Capital, LLC is now a member of the Committee, and the

 2   other Committee members are aware of LNBYB’s prior representation.

 3             15.    Neither LNBYB nor any of its attorneys are a relative or an employee of the U.S.
 4   Trustee or the Bankruptcy Judge assigned to these cases.
 5
               16.    LNBYB not a creditor, an equity security holder, or an insider of the Debtors.
 6
               17.    To the best of my knowledge, LNBYB does not hold or represent any interest
 7
     materially adverse to the interest of the estates or of any class of creditors or equity security
 8

 9   holders, by reason of any direct or indirect relationship to, connection with, or interest in, the

10   Debtors or an investment banker for any security of the Debtors, or for any other reason.

11             18.    LNBYB has not shared or agreed to share its compensation for representing the
12
     Committee with any other person or entity, except among its members.
13
               19.    A true and correct copy of the Notice of the Application, which was filed and
14
     served in accordance with Local Bankruptcy Rule 2014-1(b)(2), is attached as Exhibit “C”
15
     hereto.
16

17             I declare under penalty of perjury under the laws of the United States that the foregoing

18   is true and correct.
19             Executed this 24th day of May, 2019, at Los Angeles, California.
20
                                                            /s/ David L. Neale
21                                                                  DAVID L. NEALE

22

23

24

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                               EXHIBIT A
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                                                   LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
                                                                                              LAW OFFICES




Professional Resume

DAVID W. LEVENE, born March 24, 1945, New York, New York. A
founding partner of Levene, Neale, Bender, Yoo & Brill L.L.P.. Business
and Professional Experience: July, 1974 to Present, attorney specializing in
matters of bankruptcy, insolvency, business reorganization and commercial
financing. Education and Honors: University of Southern California, B.S.,
Business Administration, 1967; University of Southern California, M.B.A.,
finance and marketing, 1968; Loyola University of Los Angeles, J.D. magna
cum laude, 1974. Bar Admissions: California, United States District Court
for the Southern, Central, Eastern and Northern Districts of California;
and U.S. Court of Appeals, Ninth Circuit. Professional Memberships and
Associations: Los Angeles County (past member: Executive Committee,
Commercial Law and Bankruptcy Section; Bankruptcy Subcommittee);
Past chair of Bankruptcy Section of Beverly Hills Bar Association; Federal
and American Bar Associations; The State Bar of California; Financial                 David W. Levene
Lawyers Conference; American Bankruptcy Institute; Commercial Law                     dwl@lnbyb.com
League of America; and Turnaround Management Association. Guest
Lecturer: Frost & Sullivan, Inc., “Loan Workouts, LBOs and Bankruptcy”;
The Banking Law Institute, “Loan Workout, Restructure and Bankruptcy”;
Drexel Burnham Lambert, “Chapter 11”; Financial Lawyers Conference,
“Fraudulent Conveyances”; Los Angeles Bankruptcy Forum, “Out of Court
Reorganizations”; Orange County Bankruptcy Forum, “Restructuring
Financially Troubled Businesses”; Jewelers Board of Trade, “Consignment
Issues in Bankruptcy”; Turnaround Management Association, “Case Study
on Representation of Debtor in Out of Court Workouts and Chapter 11”;
National Conference of the Turnaround Management Association, “Gaining
Confidence of Lenders and Creditors in Workouts and Restructurings”;
Young Presidents’ Organization National Conference, “Acquisition and
Investment Opportunities in Bankruptcy Reorganization Cases”; The
Counselors of Real Estate Convention, “Chapter 11 and the Role of the
Real Estate Advisor”; Association of Insolvency Accountants: Valuation
Conference, “Valuation Issues in Chapter 11 Cases”, Moderator of seminar
on “Workouts” sponsored by Orange Country Bankruptcy Forum, “Role of
Appraisers in Bankruptcy & Reorganization Cases” presented at convention
of American Society of Appraisers, and guest lecturer on “Workouts and
Restructuring” presented nationally by Fulcrum Information Services. Twice
continued...                                                         pg 1 of 2


10250 CONSTELLATION BLVD., STE 1700, LOS ANGELES, CA 90067      TEL: 310.229.1234 FAX: 310.229.1244 www.LNBYB.COM
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                                                                                               LAW OFFICES



David W. Levene
Professional Resume
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included in annual list of “100 most prominent business attorneys practicing
in Los Angeles County” in Los Angeles Business Journal’s annual list of
“Who’s Who in Law and Accounting.” Repeatedly listed as a “Southern
California Super Lawyer” in annual polls of his peers.




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                                                                                                  LAW OFFICES




Professional Resume

DAVID L. NEALE began his legal career in New York, with the law firm of
Kramer, Levin, Nessen, Kamin & Frankel, where he represented creditors
and creditors’ committees in large, complex cases such as Texaco Inc., LTV
Steel and Charter Co. When Mr. Neale relocated to California in 1989, to join
the law firm of Levene & Eisenberg, he brought with him an understanding of
creditors’ rights and remedies that he was able to apply to the representation
of debtors and other constituencies in bankruptcy and workout situations.

His broad experience includes handling cases in a variety of areas including:
Manufacturing (successful Chapter 11 reorganization for companies such as
Future Media Productions, a manufacturer of blank CDs and DVDs; California
Aircraft & Engines, Inc., a manufacturer of aircraft engine parts with claimants
from around the world; DCC Compact Classics, Inc., a manufacturer of
specialty CDs and recordings; Fernandes Guitars, a manufacturer of electric
and acoustic guitars for distribution around the world); Food and beverage                David L. Neale
industry (Chinois Restaurant, successful Chapter 11 reorganization for                    dln@lnbyb.com
a Las Vegas restaurant; Café-Melisse Valencia, successful out-of court
workout and orderly liquidation; Galletti Brothers Foods, successful Chapter
11 reorganization for one of the nation’s largest fresh seafood wholesalers)
Crunchies Food Company, successful Chapter 11 sale of assets of retailer of
dried fruit snacks); Construction (successful Chapter 11 reorganization for
Rock & Waterscape, Inc., builder of water-themed features in Las Vegas and
around the world); Real Estate (successful Chapter 11 cases for Roosevelt
Lofts, LLC, involving a condominium conversion in downtown Los Angeles;
North Silver Lake Lodge, LLC, involving one of the last undeveloped parcels
of real property in the Deer Valley, Utah ski resort area; IDM Corporation and
its affiliates requiring the restructuring of over $1 billion in debt; and Galletti
Brothers Investments, a real estate partnership with multiple properties. He
has also represented Ritter Ranch Development, the owner of an 11,000-acre
development property in Palmdale; and National Enterprises, Inc. and San
Diego Investments, real estate management and development companies
with properties across the United States); Energy (representing the California
Independent System Operator Corporation in connection with the bankruptcy
cases of California Power Exchange, Pacific Gas & Electric Co., Enron Inc.
and Mirant and its affiliates; Evergreen Oil, an oil re-refining company operating
throughout California); Banking and finance (Imperial Credit Industries, Inc.);
Trucking (Green Fleet Systems and TKS Leasing, successfully confirming a

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10250 CONSTELLATION BLVD., STE 1700, LOS ANGELES, CA 90067          TEL: 310.229.1234 FAX: 310.229.1244 www.LNBYB.COM
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                                                       LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
                                                                                                   LAW OFFICES



David L. Neale
Professional Resume
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plan of reorganization for a short-haul trucking company operating out of the
ports of Los Angeles and Long Beach; Coast Bridge Logistics, Inc. representing
another short-haul trucking company in connection with the sale of its assets;
Consolidated Freightways and its affiliates, in which Mr. Neale represented
multi-employer pension funds that were the largest creditors and went on to
represent the post-confirmation Plan Oversight Committee and serve as special
counsel to the Liquidating Trust in certain litigation and appellate matters, and
The Penn Traffic Co. and its affiliates, in which Mr. Neale represented certain
multi-employer retirement, health and welfare funds); Health Care (Solid
Landings Behavioral Health and its affiliates, operators of rehab facilities in
California, Texas and Nevada); North American Health Care and affiliates
(operators of skilled nursing facilities); Technology and Communication (WCI
Cable, Inc., a fiber optic cable network located in Oregon and Alaska); and
Retail (successful Chapter 11 cases for Ortho Mattress, Inc., a manufacturer
and retailer of bedding products; Britches of Georgetowne, Inc., a clothing
retailer with outlets in several states). Mr. Neale has a particular expertise in the
Entertainment Industry. He has represented clients involved in publishing
(New Millennium Entertainment, Buzz Magazine); film exhibition (Resort
Theaters of America); film production (Franchise Pictures, LLC and its
affiliates); The Samuel Goldwyn Company in connection with its acquisition of
Heritage Entertainment); music (Even St. Productions, LLC, the owner of rights
relating to the catalogue of Sly & the Family Stone) and artists (Gladys Knight,
Mick Fleetwood, Lynn Redgrave, among others). He has also successfully
represented numerous individual Chapter 11 debtors with respect to personal
real estate holdings and liabilities and other financial difficulties. Mr. Neale has
also represented numerous purchasers, equity interest holders, creditors and
official committees in many Chapter 11 cases around the country. This is a small
sample of the cases he has handled over his almost 30-year legal career.

Mr. Neale is both an experienced and aggressive litigator whose cases
have resulted in over a dozen notable published opinions by the Bankruptcy
Court, District Court and Ninth Circuit Court of Appeals. He also brings
his negotiating skills to bear as a member of the Mediation Panel for the
Bankruptcy Court for the Central District of California. He is a member of the
American Bar Association, Association of the Bar of the City of New York,
New York County Bar Association, Century City Bar Association, Beverly Hills
Bar Association, Financial Lawyers Conference, Turnaround Management

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David L. Neale
Professional Resume
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Association, and the Commercial Law League of America. He has served on
the Board of Directors of the AIDS Project Los Angeles and the Los Angeles
division of the American Friends of Hebrew University.

Mr. Neale received his B.A., summa cum laude from Princeton University in
1984 and his J.D. from Columbia University School of Law in 1987. He was
admitted to the New York Bar in 1988 and the California Bar in 1989. He was
admitted to the Ninth Circuit Court of Appeals in 1989, and was admitted to
the United States District Court for the Southern and Eastern Districts of New
York in 1988. In 1989, he was admitted to the Central, Eastern, Northern and
Southern Districts of California. He has also practiced extensively in courts
around the country, in venues as diverse as Oregon, Arizona, Nevada, Texas,
Arkansas, Utah, Florida, New York, Delaware and Tennessee.

Mr. Neale is the author of “Bankruptcy and Contractual Relations in the
Entertainment Industry – An Overview,” 1990 Entertainment, Publishing and
the Arts Handbook; “A Survey of Recent Bankruptcy Decisions Impacting upon
the Entertainment Industry,” 1992–1993 Entertainment, Publishing and the Arts
Handbook; “SEC Actions and Stays,” National Law Journal, 2002; “The Scope
and Application of 11 U.S.C. § 1145,” American Bankruptcy Institute Bankruptcy
Battleground West, 2003, and “Whose Life is it Anyway? Treatment of Unique
Assets in Bankruptcy,” American Bankruptcy Institute Winter Leadership
Conference, 2016. He was featured as a “Mover & Shaker” by The Deal
magazine in 2006, and has been interviewed several times by, among others,
KNX news radio in Los Angeles, Variety magazine, The Hollywood Reporter,
and the California Real Estate Journal on bankruptcy topics. He has appeared
as a speaker on the following topics before the following organizations:
“Making the Best Better: Lessons From the Battlefield,” Turnaround
Management Association 6th Annual Spring Meeting, 1998; “Litigation Issues in
Bankruptcy,” Business Torts – An Introduction and Primer, Consumer Attorneys
Association of Los Angeles, 1998; “There Must Be Fifty Ways to Leave Your
Troubles,” Turnaround Management Association, 1998; “The Impact of State
Court Decisions in Bankruptcy Court,” Beverly Hills Bar Association, 2001.
He has appeared as a panelist, addressing issues relating to “Bankruptcy
in the Dot-Com Economy” and “Licensing Agreements: How to Draft and
Enforce Them” for Law.Com Seminars; “Public Company Debtors and the
SEC,” American Bankruptcy Institute Bankruptcy Battleground West, 2003;
“The 2005 Amendments to Bankruptcy Code Sections 546(c) and 547 – The
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David L. Neale
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Early Returns,” Financial Lawyers Conference, 2008; “Transfers of Intellectual
Property,” Southwestern Law School, Bankruptcy in the New Millennium, 2010;
“Practicing in the Limelight: Celebrity Bankruptcies,” American Bankruptcy
Institute Winter Leadership Conference, 2016, and “Shark Tank,” American
Bankruptcy Institute Bankruptcy Battleground West, 2018.

Mr. Neale has consistently been named by Los Angeles magazine as one of
its 100 “Super Lawyers” in the bankruptcy field, and has been recognized by
Chambers & Partners as one of the top practitioners within the bankruptcy/
restructuring field in California.




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Professional Resume

RON BENDER is a founding and co-managing partner of the firm. With a
large and diverse practice, Mr. Bender has successfully reorganized and
sold numerous companies and restructured the financial affairs of many
individuals. Mr. Bender is widely regarded as a highly creative, results
oriented bankruptcy attorney who is able to tackle complex problems and
develop and implement creative solutions. Mr. Bender has repeatedly been
listed by “Super Lawyers” as one of the top 100 lawyers in Southern Califor-
nia in regional surveys of his peers. Mr. Bender received his undergraduate
degree in Finance from the prestigious Wharton School of Business at the
University of Pennsylvania in 1986 where he graduated first in his class (B.S.,
summa cum laude), and then obtained his law degree from Stanford Univer-
sity Law School in 1989. During law school, Mr. Bender served as a judicial
extern for the Honorable Lloyd King, U.S. Bankruptcy Court, Northern District
of California Bankruptcy Court. Since graduating from law school, Mr. Bender
has worked solely in the areas of bankruptcy, insolvency and business                    Ron Bender
reorganization, and has developed one of the largest bankruptcy, insolvency              rb@lnbyb.com
and restructuring practices in Southern California, including the representa-
tion of debtors, creditors’ committees, creditors, purchasers of businesses,
and assignees in the context of assignments for the benefit of creditors. Mr.
Bender’s incredibly broad Chapter 11 and insolvency debtor experience
includes the the representation of Ironclad Performance Wear (a leading,
technology-focused developer and manufacturer of high-performance
task-specific gloves and apparel for the “industrial athlete” which was sold for
$25.25 million); representation of Rdio (a digital music service provider which
was sold to Pandora for $75 million); Country Villa (one of the largest owners
and operators of skilled nursing facilities with annual revenue of more than
$200 million which was sold for $62 million); Pebble ABC in a sale to Fitbit for
$20 million; Jawbone ABC in a sale of its Audio/Jambox line; Gamma Medica
(a manufacturer of imaging systems in the biotechnology field which was
sold); Matterhorn Group (a large manufacturer of novelty ice cream products
which was sold); Fat Burger (a well known chain of hamburger restaurants
which were sold); Westcliff Medical Laboratories (an owner and operator of
170 patient service center laboratories and labs throughout California with
$95 illion of annual revenue and 1,000 employees which was sold for $57.5
million); LifeMasters Supported Selfcare (a national disease management
company with annual revenue of $80 million which was sold); Bodies in
Motion (a chain of fitness facilities which was sold for approximately $10

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Ron Bender
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million); Max Equipment Rental (an equipment rental company which
successfully reorganized); Nelson & Associates (a manufacturers’ represen-
tative in the electrical industry which successfully restructured its debt);
Douglas Furniture (a large furniture manufacturer); Padilla Construction (a
plastering company which successfully reorganized); Lamas Beauty (a
manufacturer of beauty supply products which was sold); Paramount Scaf-
folding (a large scaffolding rental company which was sold); Alin Party
Supply (a retail chain of party supplies which successfully reorganized); Lake
San Marcos Resort & Country Club; Krystal Air (an aircraft leasing company
which was sold); Pacific High Reach (a large construction equipment rental
company which was sold for $17 million); Krystal Koach (a large manufactur-  -
er of limousines and shuttle buses which was sold); Small World Toys (a toy
company which was sold for approximately $16 million); Intervisual (a
children's book company which was sold for approximately $10 million);
LightPointe Communications (a manufacturer of wireless networking equip-
ment which successfully reorganized); Nicola (a large olive importer and
distributor which successfully reorganized); Krispy Kreme (an owner and
operator of Krispy Kreme Doughnut Stores which successfully reorganized);
Pleasant Care (an owner and operator of skilled nursing facilities with annual
revenue of approximately $200 million which was sold for approximately $17
million); Aura Systems (a publicly traded manufacturer of a mobile power
generator which successfully reorganized); Sega GameWorks (a retail
entertainment based company operating under the name of “GameWorks,”
with $60 million of annual revenue, which was sold for approximately $8
million); Alliant Protection Services (a commercial and residential alarm
services company with 16,000 customers, which was sold for $14.5 million);
The Walking Company (a national chain of 101 retail stores selling specialty
shoes and footwear, which successfully reorganized involving $22 million of
cash, debt and stock); Shoe Pavilion (a chain of 117 retail stores selling
off-price footwear with locations in the Western and Southwestern United
States which was sold); Gadzoox Networks (a publicly traded company
engaged in the business of providing networking infrastructure for storage
and data management, where one division was sold for $8.5 million and the
balance of the company successfully reorganized); State Line Hotel, State
Line Casino, Jim’s Enterprises (two hotels and casinos located in West
Wendover, Nevada known as the State Line Hotel and Casino and the Silver
Smith Hotel and Casino, which were sold for $55 million); Management

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Ron Bender
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Action Programs (a management consulting firm that successfully reorga-
nized); Easyrider and Paisano Publications (publicly traded publishers of
thirteen national magazines, which were sold for $12.3 million); Clifford
Electronics (a manufacturer of automotive aftermarket and original equipment
manufacturer security systems and components, primarily for automobiles,
with annual sales of $40 million, which was sold for $20 million); Chorus Line
Corporation and California Fashions Industries (one of the largest apparel
companies in the country with annual sales of $500 million which engaged in
a Chapter 11 liquidation); Avus (a distributor of computer systems with sales
of in excess of $100 million, which was sold); A.J. Markets (chain of super-
markets sold for $5 million); Trancas Town (owner of 35 acres of raw devel--
opable land in Malibu, California that successfully reorganized); Association
of Volleyball Professionals (professional beach volleyball league sold in
Chapter 11); Louise’s Trattoria (chain of 16 Italian food restaurants with $30
million in annual revenue sold in Chapter 11 for $7 million); Westward Ho
Markets (a supermarket chain with $50 million of annual revenue and $20
million of debt which was restructured through a confirmed Chapter 11
reorganization plan); Special Effects Unlimited (one of the largest providers of
special effects in the movie industry which was restructured through a
confirmed Chapter 11 reorganization plan); Santa Barbara Aerospace (a
heavy aircraft maintenance facility located at the former Norton Air Force
base in San Bernardino, California, which was restructured and sold);
Manchester Center (a 1.5 million square foot shopping center in Fresno,
California which was sold for $25 million); Marbella Golf and County Club (a
golf and country club located in San Juan Capistrano which successfully
reorganized); Southwest Hospital (an acute care hospital located in Riverside
which successfully reorganized); Servall Packaging Industries (a contract
packaging company which was sold); Polaris Networks (a telecommunica-
tions networks and software company which successfully reorganized); and
Prestige Products (a distributor of aftermarket automobile accessories which
was sold). A sampling of Mr. Bender’s representation of creditors’ commit-
tees includes the representation of the creditors’ committee in the Chapter 11
bankruptcy case of Trigem America (a wholly-owned subsidiary of one of the
largest computer manufacturers in the world located in Korea whose case is
currently pending) and Robinson Golf Holdings (the owner of a large golf
resort development project). Mr. Bender has also represented numerous real
estate related debtors in chapter 11. Mr. Bender is also one of California’s
leading lawyers in the arena of assignments for the benefit of creditors.
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Martin J. Brill
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Professional Resume

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Professional Resume

EDUCATION
University of Maryland (B.A., 1971)
University of Maryland School of Law (J.D., 1974)

BAR ADMISSIONS
Maryland, 1974
California, 1976

Gary E. Klausner joined LNBYB as a senior partner in May 2014, from a
senior shareholder position at Stutman, Treister & Glatt P.C. Mr. Klausner
has exclusively practiced in the field of corporate restructuring and bank-
ruptcy since 1976.

Mr. Klausner represents Chapter 11 debtors, secured and unsecured
creditors, creditors' committees, trustees and receivers, licensors and
franchisors, purchasers of assets out of bankruptcy cases and parties                  Gary E. Klausner
involved in litigation and appeals in connection with bankruptcy cases. He             gek@lnbyb.com
has handled cases involving a broad range of businesses and industries
including manufacturing, retail, real estate development, hospitality and
restaurants, aerospace, entertainment, health care, financial institutions,            Honors and Recognitions
and transportation.
                                                                                       Selected, Super Lawyers (Bankruptcy
Mr. Klausner also has expertise in Chapter 9 of the Bankruptcy Code, which             & Creditor/Debtor Rights) 2004-12
is designed for the reorganization of municipalities. He currently chairs the          Selected, Southern California's Best
American Bar Association's Chapter 9 Subcommittee.                                     Lawyers in America, 2011-12

Mr. Klausner's significant engagements as debtor's counsel include:
                                                                                       Publications/Press
Meruelo Maddux Properties, Inc. (Special Reorganization Counsel); Impe-
rial Capital Bancorp, Inc.; Colorep, Inc., International Union of Operating            "Section 1111(b) '" Look Before You
Engineers, Local 501, Mr. Gasket Co.; Prism Entertainment Corporation;                 Leap," 2 Bankruptcy Study Group
Packaging Corporation of America; Super Shops, Inc.; Cannon Pictures;                  Journal 15 (1986)
Maguire Thomas Partners, Fifth & Grand, Ltd.; ABC International Traders,               "Chapter 11 'The Bank of Last
Inc.; Maxicare and Watts Health Foundation, Inc., dba UHP Healthcare.                  Resort,'" The Business Lawyer,
                                                                                       November, 1989; Vol. 45, No. 1
Mr. Klausner was the lead lawyer in the Chapter 9 case of Valley Health                "The New Bankruptcy Rules," 4
System, in which he successfully confirmed a Chapter 9 Plan of Adjustment.             Bankruptcy Study Group Journal 64
                                                                                       (1987).
Mr. Klausner has represented creditors’ committees in cases such as
Consolidated Freightways, New Meatco, Westward Ho Markets, Naki
                                                                                       Speaking Engagements
Electronics, Prime Matrix, The Movie Group, American Restaurant Group
("Black Angus"), and Solidus Networks, Inc. Mr. Klausner has also repre-               Panelist, "Bank Holding Company
sented principals involved in significant chapter 11 cases, such as EZ Lube;           Bankruptcies," ABI Battleground West,
Rachel Ashwell Design, Inc. ("Shabby Chic"); and Comic Book Movies LLC.                2012
                                                                                       Panelist, "Municipal Bankruptcies,"
In addition to client matters, Mr. Klausner has been actively involved and             ABI Battleground West, 2011
has held prominent positions in local and national professional organiza-              Panelist, "Municipal Bankruptcies,"
tions and bar associations. Mr. Klausner is a member of the Board of                   ABA Fall Meeting Business Law
Governors of the Financial Lawyers Conference and served as its President              Section, 2010

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Professional Resume, cont...

from 1993 through1994. He is a Board member of the Los Angeles Bankruptcy               KEY REPRESENTATIONS
Forum (serving as its President in 2003-2004), a member of the American Bar             Debtor Representations
Association, Section on Business Law, where he chaired a task force on The              Colorep, Inc.
Economics of Chapter 11 Practice, chaired the Subcommittee on Bankruptcy                International Union of Operating
Fraud, Crimes and Abuse of the Bankruptcy Process and currently chairs the              Engineers, Local 501
Chapter 9 Subcommittee. He is a member of the Los Angeles County Bar                    St. Tropez Capital, Inc.
Association, where he has served as a member of the Executive Committee of              Mr. Gasket Co.
the Commercial Law and Bankruptcy Section as well as being Vice-Chair of the            Prism Entertainment Corporation
Section's Bankruptcy Committee.                                                         Packaging Corporation of America
                                                                                        Super Shops, Inc.
In 2010, Mr. Klausner was elected as a Fellow of the American College of                Maguire Thomas Partners, Fifth &
Bankruptcy, and in 2012, Mr. Klausner was recognized as "Bankruptcy Lawyer              Grand, Ltd.
Of The Year" by the Century City Bar Association.                                       ABC International Traders, Inc.
                                                                                        Maxicare, HMO
Mr. Klausner has also served as a Lawyer Representative to The Ninth Circuit            Watts Health Foundation, Inc., dba UHP
                                                                                        Healthcare, HMO
Judicial Conference and currently chairs the United States District Court Stand-
                                                                                        Valley Health System, Healthcare
ing Committee On Attorney Discipline.                                                   District
                                                                                        Imperial Capital Bancorp, Inc.
Mr. Klausner speaks frequently on subjects involving bankruptcy and commercial          Mereulo Maddux Properties, Inc
law and has published numerous articles on bankruptcy-related topics.
                                                                                        Committee Representations
He is a member of the bar of the states of California and Maryland, and is
                                                                                        New Meatco
admitted to practice before the United States Supreme Court, the United States
                                                                                        Consolidated Freightway
Courts of Appeals for the Ninth Circuit, and the United States District and Bank-
                                                                                        Westward Ho Markets
ruptcy Courts for the Central District of California.
                                                                                        Naki Electronics
                                                                                        Prime Matrix
Mr. Klausner received his J.D., with honors, from the University of Maryland
                                                                                        Stan Lee Media
School of Law in 1974, where he served on the editorial staff of the University of
                                                                                        American Restaurant Group, Inc
Maryland Law Review from 1972-3. He received his B.A. from the University of
Maryland in 1971.
                                                                                        Significant Creditor/Party In Interest
                                                                                        Representations
PROFESSIONAL AFFILIATIONS
                                                                                        Cannon Pictures, Inc.
Financial Lawyers Conference (President, 1993 -1994; Member of the Board of
                                                                                        Georgia Pacific Corporation
Governors)
                                                                                        Cal Worthington
Los Angeles Bankruptcy Forum (President in 2003-2004)
                                                                                        Columbia Tristar
American Bar Association (Section on Business Law, Chair of the Subcommittee
                                                                                        Fox Family Worldwide
on Bankruptcy Crimes, Fraud and Abuse, 2005)
                                                                                        MCI Telecommunications Corporation
Ninth Circuit Judicial Conference (2007-2009)
                                                                                        Paramount Pictures
United States District Court, Central District, Standing Committee on Attorney
                                                                                        Saban Entertainment
Discipline, Chair 2011-Present
                                                                                        Sony Pictures, Inc.
American Bar Association Section on Business Law, Chair of the Subcommittee
                                                                                        The Walt Disney Company
on Chapter 9, 2011-Present
                                                                                        Victor Valley Community Hospital
Honors and Recognitions
                                                                                        Rachel Ashwell Design, Inc
Selected, Super Lawyers (Bankruptcy & Creditor/Debtor Rights) 2004-12
                                                                                        EZ Lube, Inc
Selected, Southern California's Best Lawyers in America, 2011-12
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Professional Resume

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Edward M. Wolkowitz
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Professional Resume

MONICA YOUNG KIM was admitted to the California Bar in 1995, after
graduating from the University of California at Berkeley (B.A., 1991) and
Hastings College of the Law (J.D., 1995). She was a Law Clerk to the
Honorable Jane Dickson McKeag, U.S. Bankruptcy Judge, Eastern District
of California, 1995-96. Ms. Kim has worked solely in the areas of bankruptcy,
insolvency and business reorganization, and commercial and real estate
transactions, representing debtors, creditors’ committees, creditors, sellers,
and purchasers. She joined Levene, Neale, Bender, Yoo & Brill L.L.P. in 1996,
and became a partner in 2004.


Ms. Kim is also involved in out-of-court restructuring transactions, including
assignments for creditors, representing sellers/assignors, assignees and
                                                                                        Monica
buyers. Her experience has included representation in retail, healthcare,
                                                                                        Young Kim
                                                                                        myk@lnbyb.com
entertainment, manufacturing, real estate, service and technology. She has
been named to the “Rising Star” listing of Southern California attorneys each
year since 2005, in annual surveys of her peers. Ms. Kim is a member of the
American Bar Association, Los Angeles County Bar Association, Century
City Bar Association, Women Lawyers Association of Los Angeles, and the
Korean American Bar Association, and is admitted to the Central, Eastern,
Northern and Southern Districts of California.




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Professional Resume

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Philip A. Gasteier
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Daniel H. Reiss
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Professional Resume

IRV M. GROSS has practiced law in California for over 30 years. After
graduating from the University of California at Los Angeles in 1968 (B.A.,
Cum Laude), Mr. Gross attended law school at Boalt Hall, University of
California at Berkeley (J.D., 1972). After graduation from law school, Mr.
Gross served as the law clerk for the Hon. Robert Firth, Judge of the United
States District Court for the Central District of California. Following his
clerkship, Mr. Gross joined the Los Angeles law firm of Simon & Sheridan, a
firm prominent for its expertise in federal litigation. After becoming a partner
at Simon & Sheridan, Mr. Gross joined Robinson, Wolas & Diamant, a highly
regarded Los Angeles law firm specializing in insolvency and creditors’
rights, and eventually became the head of the firm’s litigation department.
Mr. Gross’ litigation practice has always been broad-based: he has
represented individuals and major corporate clients, including McKesson
Corp., Chicago Title Insurance Company, 20th Century Fox Corp., Interstate
Bakeries Corp., Nutro Products, Inc. and Allstate Financial, in business,                Irv M. Gross
commercial, real estate and employment litigation, including jury and                    img@lnbyb.com
non-jury trials. These include a successful eight-week jury trial in the Los
Angeles Superior Court representing former bank directors sued for breach
of fiduciary duty, and a successful two-week jury trial in the United States
District Court defending a Fortune 100 company in a wrongful termination
case. A significant part of Mr. Gross’ practice involves the representation
of bankruptcy trustees, chapter 11 debtors, and creditor committees and
individual creditors in insolvency litigation, such as Mr. Gasket (public
company in the automotive parts industry), Qintex Entertainment, Inc.
(public company in the entertainment industry) and Condor Systems, Inc.
(public company in the defense industry). Mr. Gross has also represented
the prevailing parties in appeals in both state and federal courts. His
published decisions include In re Rossi, 86 B.R. 220 (9th Cir. BAP 1988);
First Pacific Bancorp, Inc. v. Bro, 847 F.2d 542 (9th Cir. 1988); In re Qintex
Entertainment, Inc., 950 F.2d 1492 (9th Cir. 1991); Bergman v. Rifkind &
Sterling, Inc., (1991) 227 Cal.App.3d 1380; In re Qintex Entertainment, Inc.,
8 F.3d 1353 (9th Cir. 1993); In re Advent Management Corp., 178 B.R. 480
(9th Cir. BAP 1995); American Sports Radio Network, Inc., et al. v. Krause,
546 F.3d 1070 (9th Cir. 2008). Mr. Gross is a member of the Litigation and
Prejudgment Remedies sections of the Los Angeles County Bar Association,
and the Litigation section of the American Bar Association. Mr. Gross has
also served as a judge pro tem of the Los Angeles Superior Court.

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JULIET Y. OH is a partner at Levene, Neale, Bender, Yoo & Brill L.L.P.
representing individuals and corporations in Chapter 11 bankruptcy
cases, out-of-court restructuring proceedings and bankruptcy litigation
proceedings. She has been voted a “Rising Star” in a poll of her peers in
Southern California each year since 2006. Ms. Oh has recently represented
Chapter 11 debtors Franchise Pictures LLC, et al., Fatburger Restaurants,
Shoe Pavilion, Central Metal, Inc., Bodies In Motion, Inc., and the Official
Committee of Unsecured Creditors of Halcyon Holding Group. Prior
to joining the firm in 2003, Ms. Oh specialized in the representation of
individuals in Chapter 7 and Chapter 13 cases and worked as an extern
with the Office of the U.S. Trustee, Central District of California. Ms. Oh is a
graduate of Stanford University and obtained her law degree from University
of California Los Angeles. She was admitted to the California Bar in 2000,
is a member of the Korean American Bar Association, California Bankruptcy                Juliet Y. Oh
Forum and Los Angeles Bankruptcy Forum.                                                  jyo@lnbyb.com




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Professional Resume

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Professional Resume

KURT RAMLO, a Los Angeles native, provides restructuring advice to business
organizations facing financial distress. His practice includes guiding organizations
through out-of-court and chapter 11 reorganizations, as well as related transac-
tions and litigation. He routinely provides advice on structuring cutting-edge
transactions on behalf of public and private debtors, foreign representatives,
receivers, shareholders, plan sponsors, third-party acquirers, secured and unse-
cured creditors, creditors' committees and post-petition lenders, as well as other
restructuring professionals. A former Assistant United States Attorney, Mr. Ramlo
also has extensive trial and commercial litigation experience in bankruptcy and
federal district courts. His representative chapter 11 matters include advising the
debtors in NexPrise, Inc.; Hingham Campus; Minor Family Hotels; Delphi Corpora-
tion; Refco; Blue Bird Body Company (prepackaged plan); Friedman's Jewelers;             Kurt Ramlo
First Virtual Communications; Kmart Corporation; ZiLOG, Inc. (prepackaged plan);         kr@lnbyb.com
Stone & Webster; Wilshire Center Marketplace (Ambassador Hotel); Washington
Group; and Furr's Supermarkets; the foreign representatives in Flightlease Hold-
ings and SunCal; the receiver in private equity management group; equity stock-
holders or plan sponsors in Charter Communications; Crescent Jewelers; Oregon
Arena Corporation; Old UGC; and Clift Holdings (The Clift Hotel); asset purchas-
ers and bidders in Medical Capital Holdings; Variety Arts Theatre; Chef Solutions
Holdings; People’s Choice Financial Corporation; Sun World; The Walking Com-
pany; Centis; and iSyndicate; estate professionals in General Growth Properties
and Leap Wireless; and creditors in Cocopah Nurseries; One Pelican Hill North,
L.P.; McMonigle Residential Group; Contessa Premium Foods; LBREP/L-Lehman
SunCal Master I, LLC; Phoenix Coyotes; GTS 900 F (Concerto); Cupertino
Square; American Home Mortgage; Trump Casinos; Consolidated Freightways;
Loral Space & Communications; Leap Wireless; DirecTV Latin American; North-
western Corporation; Airwalk; Centis; Regal Cinemas; eToys; Excite/At Home
Corporation; Paracelsus Healthcare; and the creditors’ committee in Hamakua
Sugar Company. Litigation matters include CanAm Capital Holdings (Ponzi
scheme fraudulent transfer action); Lyondell Chemical (New York LBO fraudulent
transfer action); Linens N Things (preference); patent holder (obtaining stay
pending appeal of $112 million judgment); S&W Bach (New York fraudulent
transfer action); One Pelican Hill North (California lender liability); Lost Lakes
(Washington lender liability); satellite dish provider (piracy and dischargeability);
Prium (lender liability); Spansion, Inc. (transfer pricing dispute); Delphi (Michigan
state tax litigation; vendor litigation); Refco (Swiss securities litigation); Old UGC
($3.7 billion breach of merger action); Airwalk (debt recharacterization trial);

continued...                                                             pg 1 of 2


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Professional Resume                continued...


various action representing the United States (Medicare fraud and dischargeability;
surety bond enforcement; loan and guaranty enforcement; wrongful foreclosure
litigation; enforcement of criminal fines and restitution orders). Published decisions
issued in matters litigated by Mr. Ramlo include United States Pac. Ins. Co. v.
United States Dep’t of Interior, 70 F. Supp. 2d 1089 (C.D. Cal. 1999); Secretary of
HUD v. Sky Meadow Assoc., 117 F. Supp. 2d 970 (C.D. Cal. 2000); Yunis v.
United States, 118 F. Supp. 2d 1024 (C.D. Cal. 2000); and United States Dep’t of
Educ. v. Wallace (In re Wallace), 259 B.R. 170 (C.D. Cal. 2000).

He is a co-author of "American Bankruptcy Reform and Creativity Prompt the In re
Blue Bird Body Company One-Day Prepackaged Plan of Reorganization," Interna-
tional Corporate Rescue, Kluwer Law International (London) (December 2006),              Kurt Ramlo
included in Expedited Debt Restructuring: An International Comparative Analysis,         kr@lnbyb.com
Rodrigo Olivares-Caminal ed., Kluwer Law International (The Netherlands) (2007).
In 1993, Mr. Ramlo obtained his law degree from the University of California, Davis
and in 1990 a Bachelor of Music degree, with a concentration on music perfor-
mance on bassoon, from California State University, Northridge.




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Professional Resume

EVE H. KARASIK is a business restructuring and bankruptcy attorney who
focuses her practice on the representation of business entities in a variety of
industries. In addition to representing corporate debtors, Ms. Karasik has
represented creditors’ committees, equity committees, post-confirmation
liquidating trusts and Bankruptcy Code section 524(g) trusts, and significant
creditors and litigation parties in cases pending around the country. She
began her legal career at Stutman, Treister & Glatt P.C., a nationally-
recognized bankruptcy boutique where she practiced until May 1, 2014
when the firm had to close its doors. She spent one year thereafter manag-
ing the Los Angeles office of Gordon Silver, a multi-practice firm with
primary offices in Nevada.

Ms. Karasik has a breadth of experience representing entities in wide
variety of industries, with significant expertise in gaming, retail, and the food
and beverage industry, among others. Some of her Debtor representations
of note include: Imperial Capital Bancorp, Inc. (San Diego, CA, Bank                       Eve H. Karasik
Holding Company), Utah 7000, LLC, et al (Salt Lake City, UT, Luxury Real                   ehk@lnbyb.com
Estate Development), Resort at Summerlin, et al (Las Vegas Nevada,
Gaming); Gold River Hotel & Casino, et al (Las Vegas, Nevada, Gaming),
Falcon Products, Inc., et al (St. Louis, MO, Furniture Manufacturer), Clark                Ms. Karasik is active in various
Retail Group, et al (Chicago, IL, Gas Station and Convenience Stores), MJ                  organizations, including:
Research, Inc. (Reno, NV, Bio Tech), Cell Pro, (Seattle, Washington, Bio
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Tech); and U.S. Aggregates, Inc., et al (Reno, NV, Mining). Her creditor                   of Directors (2015); Bankruptcy Battle-
and equity committee representations include Circus and Eldorado Joint                     ground West Conference, Co-Chair,
Venture, et al. (Reno, NV, Gaming), Riviera Holdings Corporation, et al.                   2012-2015; Ethics and Compensation
(Las Vegas, NV. Gaming), Eurofresh, Inc., et al (Phoenix, AZ, Food                         Subcommittee, Education Director,
Producer and Distributer), USA Capital First Trust Deed Fund (Las Vegas,                   2014-15, Newsletter Editor, 2012-2014
NV, Real Estate Investment Fund), Aladdin Gaming, Inc. (Las Vegas, NV,                            
Gaming), New Meatco Provisions, LLC. (Los Angeles, CA, Protein Distribu-                   Member 2014-2015, Membership
tion) and Amerco (Reno, NV, Retail/Trucking).                                              Committee
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Ms. Karasik has also served as counsel to the Trustee in the Securities                    Section, Member
Investor Protection Corporation liquidation proceeding of W.S. Clearing, Inc.                     !    
(Los Angeles, CA, Securities Clearinghouse), counsel to the Examiner in                    Committee, Member, 2005-2006
the Fontainebleau Las Vegas Holdings, LLC., et al. (Miami, FL, Gaming),                          -
and counsel to the J.T. Thorpe Settlement Trust, the Thorpe Insulation                     cial Law and Bankruptcy Section,
Company Settlement Trust, Plant Insulation Settlement Trust, and the                       Member
Western Asbestos Settlement Trust (Reno, NV, Section 524(g) Bankruptcy                         " # !  
Trusts).                                                                                   Restructuring Confederation (IWIRC),
                                                                                           Member
Ms. Karasik has received several awards in her field, including the Century                 "     
City Bar Association Bankruptcy Attorney of the Year for 2015, and the                     Angeles, Former Executive Committee
Turnaround Managers Association “2007 Large Company Transaction of                         Member
the Year” award for her work on the U.S.A. Commercial Mortgage Company                      $  %      
Chapter 11 Cases. She is also been named as a Southern California States                   (“TMA”) Awards Committee, Member,
Super Lawyers®, 2012-2015 for Bankruptcy & Creditor/Debtor Rights; Best                    2009-2011
Lawyers in America®, Bankruptcy and Creditor-Debtor Rights Law – 2007-                      $%' !   
2015; and AV/Preeminent Attorney® as rated by Martindale-Hubbell®, 5.0                     Planning Committee, Member, 2013-
out of 5.0.                                                                                2014
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Professional Resume, cont...

Ms. Karasik has appeared as a speaker on the following topics before the
following organizations:
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Great Debates – Third Party Injunctions in Chapter 11 Plans
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Great Debates – Administration of Administratively Insolvent Estate for the
Benefit of a Secured Creditor
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of Assets Free and Clear of Liens Over the Objection of the Secured Creditor
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Claims Trading, Fiduciary Duties and Other Pesky Committee Issues
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– New Duties and Beyond – Ethical Problems of Committee Membership and
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Revisited – Recent Developments and Trends

Ms. Karasik received her B.A., with High Honors in History, from the University of
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nia Law School (Gould School of Law), Order of the Coif, 1991. She was admit-
ted to the California Bar in 1991. She was admitted to the Ninth Circuit Court of
Appeals in 1991, the United States District Court for the Central and Northern
Districts of California in 1991 and 1992, and the Southern and Eastern Districts
of California in 1994. She has also practiced extensively in Federal Courts
throughout the country including in Nevada, Arizona, Utah, Delaware, Washing-
ton, Illinois, Missouri, Arizona and Florida.




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Professional Resume

CARMELA T. PAGAY, a partner at LNBY&B, specializes in
representation of debtors in reorganizations and liquidations, creditor
committees, and Chapter 7 and Chapter 11 trustees, and bankruptcy
litigation. Ms. Pagay received her Bachelor of Arts Degree in Political
Science from the University of California, Los Angeles in 1994, and her
Juris Doctor from Loyola Law School, Los Angeles in 1997, where she
was Senior Production Editor of the Loyola of Los Angeles International
and Comparative Law Journal. Ms. Pagay is admitted to practice before
the United States District Court, Central, Eastern, Northern, and Southern
Districts, the Ninth Circuit Court of Appeals, and the United States Supreme
Court. She is currently a member of the Beverly Hills Bar Association,
Bankruptcy Section Executive Committee, the Los Angeles County Bar
Association, and the Women Lawyers Association of Los Angeles, and is
also an editorial board member of the Los Angeles Lawyer magazine.                    Carmela T.
                                                                                      Pagay
                                                                                      ctp@lnbyb.com




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Professional Resume

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Professional Resume

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Professional Resume

JEFFREY S. KWONG joined LNBYB as an associate in 2014. Prior to
joining the firm, Mr. Kwong served for two years as law clerk to the
Honorable Deborah J. Saltzman, United States Bankruptcy Judge for the
Central District of California. Mr. Kwong obtained his J.D. in 2012 from
the University of California, Berkeley, Boalt Hall School of Law, where he
served as an editor for the Berkeley Journal of International Law and a
Senior Articles Editor for the Asian American Law Journal. He received
his undergraduate degree, summa cum laude, from the University of
California, San Diego. He is a member of the Beverly Hills Bar Associa-
tion, the Financial Lawyers Conference, and the Los Angeles Bank-
ruptcy Forum.




                                                                                      Jeffrey S. Kwong
                                                                                      jsk@lnbyb.com




                                                                      pg 1 of 1


10250 CONSTELLATION BLVD., STE 1700, LOS ANGELES, CA 90067      TEL: 310.229.1234 FAX: 310.229.1244 www.LNBYB.COM
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                  LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.

                                 PARAPROFESSIONALS


  JASON KLASSI (JK) received his Bachelors of Arts degree from the University of
  California at Los Angeles graduating Magna Cum Laude in 1979. He has over 20 years
  of paralegal experience within the State of California currently working at the law firm of
  Levene, Neale, Bender, Yoo & Brill L.L.P. since its inception in 1995. Mr. Klassi
  maintains compliance for paralegal qualification under Business & Professions Code
  6450(c)(3) and (d). He also is an active member of the Los Angeles Paralegal
  Association.


  JOHN A. BERWICK (JAB) received his bachelor’s degree in Fine Arts and English
  from the University of Texas at Austin in 1973. In 1981, Mr. Berwick joined the
  American College of Trial Lawyers, a nationwide association, wherein he worked for
  such luminaries as Supreme Court Justices Lewis F. Powell, John Paul Stevens and
  Sandra Day O’Connor, former Attorney General Griffin Bell, Cabinet Members,
  Senators, Members of Congress, United States Ambassadors, heads of state, and a
  significant array of top trial attorneys from across the country. Mr. Berwick’s 23 years of
  paralegal experience in bankruptcy began in 1989 when he joined the firm of Coskey,
  Coskey & Boxer, followed by Haight, Brown & Bonesteel in 2000. In 2002, Mr.
  Berwick joined the firm of Levene, Neale, Bender, Yoo & Brill L.L.P. Mr. Berwick
  maintains his paralegal qualification under Business & Professions Code 6450(c)(3) and
  (d).


  LOURDES CRUZ (LC) is a bankruptcy paralegal/legal assistant who received her
  Associate of Arts degree in computer science from the Institute of Computer Technology
  College graduating with honors in 1996. Ms. Cruz has been working with law firms
  specializing in bankruptcy for over 15 years. From 1999 to 2003 she worked for
  Weinstein, Eisen & Weiss LLP. From 2003 to 2005 she worked for Jeffer, Mangels,
  Butler & Marmaro LLP. Since August 2005 she has been working with Levene, Neale,
  Bender, Yoo & Brill L.L.P. Ms. Cruz continues her paralegal education by staying in
  compliance with MCLE requirements under Business and Professions Code 6450(c)(3)
  and (d).


  STEPHANIE REICHERT (SR) Stephanie Reichert is a bankruptcy paralegal/legal
  assistant who received her bachelor’s degree in Communications from the University of
  Pennsylvania in 2007. From 2008 through 2010 she worked for Togut, Segal & Segal,
  LLP, a bankruptcy firm in New York City. Since October 2010 she has been working
  with Levene, Neale, Bender, Yoo & Brill L.L.P.
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  LISA  MASSE received
  LISA MASSE      (LM) received     her Associates
                            her Bachelor            of ArtsinDegree
                                          of Arts Degree              in LiberalStudies
                                                              Communication      Arts from
                                                                                        at Santa
  Monica College, graduating with honors in 2012, and is currently attending California
  California
  State      State University
        University, Northridge,Northridge,
                                   majoring graduating  with honors.
                                            in Communication            Ms. Ms.
                                                                  Studies.   Masse  has been
                                                                                 Masse   has been
  working with
  working  with law
                 lawfirms
                       firmsspecializing in bankruptcy
                              specializing              for the
                                            in bankruptcy    for past
                                                                  the 20 years.
                                                                       past      She wasShe was
                                                                            20 years.
  employed by the
                the law
                     lawfirm
                          firmofofStutman,
                                   Stutman,Treister
                                             Treister& &
                                                       Glatt, Professional
                                                         Glatt,             Corporation
                                                                 Professional  Corporationfrom
                                                                                             from
  January 2001 until
                 untilApril
                        April2014.
                              2014.In In
                                       MayMay   2014,
                                             2014, she she  joined
                                                       joined       the of
                                                               the firm  firm of Levene,
                                                                            Levene, Neale,Neale,
  Bender,
  Bender, Yoo
           Yoo && Brill,
                   Brill, L.L.P.
                          L.L.P. Ms.
                                   Ms.Masse
                                       Massecontinues
                                               continuesher
                                                         herparalegal
                                                              paralegaleducation
                                                                         educationbybymaintaining
                                                                                       staying in
  compliance with MCLE requirements under Business and Professions Code 6450(c)(3)
  MCLE compliance.
  and (d).

  MEGAN WERTZ (MW) has over 7 years of paralegal experience within the State of
  California. Ms. Wertz has been working with law firms specializing in bankruptcy and
  real estate for over 15 years. From 1999 to 2007 she worked for Blanco Tackabery
  Combs & Matamoros P.A. in Winston-Salem, North Carolina. From 2007 to 2015 she
  worked for Pachulski Stang Ziehl & Jones LLP. Since September 2015 she has been
  working with the firm of Levene, Neale, Bender, Yoo & Brill L.L.P. Ms. Wertz
  continues her paralegal education by staying in compliance with MCLE requirements
  under Business and Professions Code 6450(c)(3) and (d).

   CONNIE
   CONNIE RAY RAY (CR)
                     (CR) is is aa Trustee
                                   Trustee Administrator/Paralegal
                                            Administrator/Paralegal whowho received
                                                                           received her
                                                                                     her Paralegal
                                                                                          Paralegal
   Certificate
   Certificate from
               from the
                      the UCR
                           UCR Extension
                                   Extension Paralegal
                                               Paralegal Training
                                                         Training Program.
                                                                   Program. She
                                                                              She received
                                                                                   received her
                                                                                              her
   bachelor's
   bachelor's degree
               degree from
                        from the
                               the University
                                    University ofof California,
                                                    California, Santa
                                                                Santa Barbara
                                                                      Barbara in
                                                                               in 1997.
                                                                                  1997. Prior
                                                                                          Prior to
                                                                                                to
   joining
   joining the
           the Firm,
                Firm, she
                       she worked
                             worked for    the U.S.
                                       for the U.S. Bankruptcy
                                                     Bankruptcy Court,
                                                                  Court, Central
                                                                         Central District
                                                                                  District of
                                                                                           of
   California,
   California, for
                for 12
                    12 years,
                        years, including
                                  including as
                                             as Judicial
                                                Judicial Assistant
                                                         Assistant to
                                                                   to the
                                                                      the Honorable
                                                                          Honorable Peter
                                                                                      Peter H.
                                                                                            H.
   Carroll
   Carroll from
            from 2002
                  2002 to to 2010.
                             2010.
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                               EXHIBIT B
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           ATTORNEYS                       2019 Rates

           DAVID W. LEVENE                 625

           DAVID L. NEALE                  625

           RON BENDER                      625

           MARTIN J. BRILL                 625

           TIMOTHY J. YOO                  625

           GARY E. KLAUSNER                625

           EDWARD M. WOLKOWITZ             625

           DAVID B. GOLUBCHIK              625

           BETH ANN R. YOUNG               595

           MONICA Y. KIM                   595

           DANIEL H. REISS                 595

           IRVING M. GROSS                 595

           PHILIP A. GASTEIER              595

           EVE H. KARASIK                  595

           TODD A. FREALY                  595

           KURT RAMLO                      595

           JULIET Y. OH                    580

           TODD M. ARNOLD                  580

           CARMELA T. PAGAY                580

           ANTHONY A. FRIEDMAN             580

           KRIKOR J. MESHEFEJIAN           580

           JOHN-PATRICK M. FRITZ           580

           LINDSEY L. SMITH                495

           JEFFREY KWONG                   450

           PARAPROFESSIONALS               250
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                               EXHIBIT C
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 1   DAVID L. NEALE (SBN 141225)
     J.P. FRITZ (SBN 245240)
 2   LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
     10250 Constellation Boulevard, Suite 1700
 3   Los Angeles, California 90067
     Telephone: (310) 229-1234
 4   Facsimile: (310) 229-1244
 5   Email: DLN@LNBYB.COM, JPF@LNBYB.COM

 6   Proposed Counsel for
     Official Committee of Unsecured Creditors
 7
                                 UNITED STATES BANKRUPTCY COURT
 8                                CENTRAL DISTRICT OF CALIFORNIA
 9                                     LOS ANGELES DIVISION

10   In re:                                               )   Case No. 2:19-bk-14989-WB
                                                          )
11                                                        )   Chapter 11
     SCOOBEEZ, et al.1                                    )
12                                                        )   Jointly Administered With Case Nos.:
     Debtors and Debtors in Possession.                   )   2:19-bk-14991-WB and 2:19-bk-14997-WB
13                                                        )
     _____________________________________                )   NOTICE OF APPLICATION TO EMPLOY
14                                                        )   LEVENE, NEALE, BENDER, YOO &
     Affected Debtor(s):                                  )   BRILL    L.L.P.   AS    GENERAL
15                                                        )
                                                          )   BANKRUPTCY COUNSEL FOR THE
         All Debtors
                                                          )   OFFICIAL       COMMITTEE     OF
16
                                                          )   UNSECURED CREDITORS
         Scoobeez
17                                                        )
                                                          )   [NO HEARING REQUIRED UNLESS
         Scoobeez Global, Inc.                            )
18                                                            REQUESTED PER LOCAL BANKRUPTCY
                                                          )   RULE 2014-1(b)(1)(C)]
19       Scoobur LLC                                      )
                                                          )
20

21
                PLEASE TAKE NOTICE that the Official Committee of Unsecured Creditors (the
22
         “Committee”) appointed in the jointly administered bankruptcy cases of Scoobeez and Scoobeez
23
         Global, Inc. (each a “Debtor” and, collectively, the “Debtors”), has submitted its application (the
24
         “Application”) to employ the law firm of Levene, Neale, Bender, Yoo & Brill L.L.P.
25
         (“LNBYB”) as the Committee’s general bankruptcy counsel pursuant to 11 U.S.C. §§ 327(a),
26
     1
27      The Debtors and the last four digits of their respective federal taxpayer identification numbers
     are as follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The
28   Debtors’ address is 3463 Foothill Boulevard, Glendale, California 91214.


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 1   330 and 1103(a), effective as of May 22, 2019, the date the Committee chose LNBYB as its
 2   counsel. A copy of the complete Application is on file with the Court and may be obtained by
 3   submitting a written request to LNBYB, whose name, address and facsimile number are set forth
 4   in the upper left-hand corner of the first page of this Notice.
 5          PLEASE TAKE FURTHER NOTICE that the Committee seeks to employee LNBYB
 6   to render, among others, the following types of professional services:
 7                     (a)    advising the Committee with regard to the requirements of the
 8   Bankruptcy Court, Bankruptcy Code, Bankruptcy Rules and the U.S. Trustee as they pertain to
 9   the Committee;
10                     (b)    advising the Committee with regard to certain rights and remedies of the
11   Debtors’ bankruptcy estates and the rights, claims and interests of creditors;
12                     (c)    representing the Committee in any proceeding or hearing in the
13   Bankruptcy Court involving the Debtors’ estates unless the Committee is represented in such
14   proceeding or hearing by other special counsel;
15                     (d)    conducting examinations of witnesses, claimants or adverse parties and
16   representing the Committee in any adversary proceeding, except to the extent that any such
17   adversary proceeding is in an area outside of LNBYB’s expertise;
18                     (e)    preparing and assisting the Committee in the preparation of reports,
19   applications, pleadings and orders including, but not limited to, applications to employ
20   professionals, and responding to pleadings filed by any other party in interest in these cases,
21   including the Debtors;
22                     (f)    assisting the Committee to evaluate any sale or other disposition of assets
23   in these cases;
24                     (g)    assisting the Committee to evaluate the existence of any assets and/or
25   causes of action to pursue and representing the Committee in connection with the pursuit of any
26   such causes of action;
27

28


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 1                  (h)     assisting the Committee in the negotiation, formulation, preparation and
 2   confirmation of a plan of reorganization and the preparation and approval of a disclosure
 3   statement in respect of the plan; and
 4                  (i)     performing any other services which may be appropriate in LNBYB’s
 5   representation of the Committee during these bankruptcy cases.
 6          PLEASE TAKE FURTHER NOTICE that because LNBYB’s practice is limited
 7   exclusively to matters of bankruptcy, insolvency and reorganization law, the services provided
 8   by LNBYB do not include the rendition of substantive legal advice outside of these areas such
 9   as corporate, tax, securities, tort, environmental, labor, criminal, real estate law or real estate
10   litigation. LNBYB will not be required to represent or advise the Committee in matters which
11   LNBYB believes are beyond LNBYB’s expertise such as the areas of law just described. In
12   addition, LNBYB will not be required to represent the Committee in matters where LNBYB
13   determines that it lacks the ability to staff the matter adequately, such as in certain, major
14   complex litigation.
15          PLEASE TAKE FURTHER NOTICE that LNBYB seeks to be employed and
16   compensated pursuant to 11 U.S.C. §§ 327, 330, 331, and 1103. The Committee expects that
17   David L. Neale and John-Patrick M. Fritz, whose hourly billing rates are $625 and $580
18   respectively, will be the primary attorneys at LNBYB responsible for the representation of the
19   Committee during these bankruptcy cases. LNBYB will seek to be paid its fees from the
20   Debtors’ estates in accordance with the regular fee application procedures of the Bankruptcy
21   Code and Bankruptcy Rules. It is contemplated that LNBYB will seek interim and final
22   compensation in the case as is permitted by Bankruptcy Code Sections 330 and 331 and
23   Bankruptcy Rule 2016.       No compensation will be paid except upon application to and
24   approval by this Court after notice and a hearing in accordance with Bankruptcy Code
25   Sections 330 and 331, Bankruptcy Rule 2016 and Local Bankruptcy Rule 2016-1.
26          PLEASE TAKE FURTHER NOTICE that, as a matter of disclosure only, LNBYB
27   does not have any previous connection with any insider of the Debtors or any insider of an
28


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 1   insider of the Debtors.   LNBYB has represented other committees, debtors and trustees in
 2   cases before the United States Bankruptcy Court for the Central District of California. Such
 3   prior representation in no way affects the proposed representation as provided for herein.
 4   LNBYB represented Nexgen Capital, LLC, but received no payment(s) from Nexgen Capital,
 5   LLC in connection with that representation. Nexgen Capital, LLC is now a member of the
 6   Committee, and the other Committee members are aware of LNBYB’s prior representation.
 7             PLEASE TAKE FURTHER NOTICE that the Application is based on this Notice,
 8   the Application, the Declaration of David L. Neale, Esq. submitted in support of the
 9   Application, the entire record of the cases, and any other evidence properly presented to the
10   Court in support of the Application.
11             PLEASE TAKE FURTHER NOTICE that pursuant to Local Bankruptcy Rule
12   2014-1(b)(3)(E), any response and request for a hearing, in the form required by Local
13   Bankruptcy Rule 9013-1(f), must be filed and served on the Debtor, LNBYB and the Office of
14   the United States Trustee no later than fourteen (14) days following the date of service of this
15   Notice.
16             PLEASE TAKE FURTHER NOTICE that the failure to file a timely objection to
17   the Application or request for a Bankruptcy Court hearing on the Application may be deemed
18   by the Bankruptcy Court to constitute consent to Bankruptcy Court approval of the
19   Application.
20
     Dated: May 24, 2019                    Official Committee of Unsecured Creditors
21
                                                   By:    /s/ John-Patrick M. Fritz
22                                                        David L. Neale
                                                          John-Patrick M. Fritz
23                                                        LEVENE, NEALE, BENDER,
24                                                        YOO & BRILL L.L.P.
                                                          Proposed Counsel for the Official
25                                                        Committee of Unsecured Creditors

26

27

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                                       PROOF OF SERVICE OF DOCUMENT
 1
     I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
 2   address is:

 3   10250 Constellation Blvd., Suite 1700, Los Angeles, CA 90067

 4   A true and correct copy of the foregoing document entitled (specify): APPLICATION TO EMPLOY
     LEVENE, NEALE, BENDER, YOO & BRILL L.L.P. AS GENERAL BANKRUPTCY COUNSEL FOR
 5   THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS; DECLARATION OF DAVID L. NEALE
     IN SUPPORT THEREOF will be served or was served (a) on the judge in chambers in the form and
 6   manner required by LBR 5005-2(d); and (b) in the manner stated below:

 7   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
     controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
 8   hyperlink to the document. On (date) May 24, 2019, I checked the CM/ECF docket for this bankruptcy
     case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
 9   List to receive NEF transmission at the email addresses stated below:

                                                                                 Service information continued
10
     on attached page
11   2. SERVED BY UNITED STATES MAIL:
     On May 24, 2019, I served the following persons and/or entities at the last known addresses in this
12   bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
     in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
13   constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
     document is filed.
14
                                                                                 Service information continued
15   on attached page

16   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
     (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on May
17   24, 2019, I served the following persons and/or entities by personal delivery, overnight mail service, or
     (for those who consented in writing to such service method), by facsimile transmission and/or email as
18   follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
     judge will be completed no later than 24 hours after the document is filed.
19
     Via Attorney Service
20   The Honorable Julia W. Brand
     U.S. Bankruptcy Court, Suite 1382
21   255 E. Temple St
     Los Angeles, CA 90012
                                                                                 Service information continued
22   on attached page
23   I declare under penalty of perjury under the laws of the United States that the foregoing is true and
     correct.
24
      May 24, 2019          Jason Klassi                                    /s/ Jason Klassi
25    Date                     Printed Name                                 Signature

26

27

28


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     2:19-bk-14989-WB Notice will be electronically mailed to:
 1
     John-Patrick M Fritz on behalf of Attorney Official Committee Of Unsecured Creditors
 2   jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com

 3   John-Patrick M Fritz on behalf of Interested Party Levene, Neale, Bender, Yoo & Brill L.L.P.
     jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
 4
     Alvin Mar on behalf of U.S. Trustee United States Trustee (LA)
 5   alvin.mar@usdoj.gov

 6   Ashley M McDow on behalf of Debtor Scoobeez
     amcdow@foley.com, sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com
 7
     Ashley M McDow on behalf of Debtor Scoobeez Global, Inc.
 8   amcdow@foley.com, sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com

 9   Ashley M McDow on behalf of Debtor Scoobur LLC
     amcdow@foley.com, sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com
10
     Rejoy Nalkara on behalf of Creditor BMW Financial Services NA, LLC, c/o AIS Portfolio Services, LP
     rejoy.nalkara@americaninfosource.com
11
     Anthony J Napolitano on behalf of Creditor Hillair Capital Management LLC
12   anapolitano@buchalter.com, IFS_filing@buchalter.com;salarcon@buchalter.com
13   David L. Neale on behalf of Interested Party Levene, Neale, Bender, Yoo & Brill L.L.P.
     dln@lnbyb.com
14
     Gregory M Salvato on behalf of Interested Party INTERESTED PARTY
15   gsalvato@salvatolawoffices.com,
     calendar@salvatolawoffices.com;jboufadel@salvatolawoffices.com;gsalvato@ecf.inforuptcy.com
16
     Steven M Spector on behalf of Creditor Hillair Capital Management LLC
17   sspector@buchalter.com, IFS_efiling@buchalter.com;salarcon@buchalter.com

18   United States Trustee (LA)
     ustpregion16.la.ecf@usdoj.gov
19

20

21

22

23

24

25

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